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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                  )        4:09cr3111
                                           )
      Plaintiff,                           )
                                           )
vs.                                        )        MEMORANDUM AND ORDER
                                           )
HECTOR CERVANTES RIVERA,                   )
                                           )
      Defendant.                           )

      The government has filed a Motion Pursuant to Rule 35(b), filing 117.
Accordingly,

      IT IS ORDERED that:

      1.      Counsel for the government shall notify the court when the motion for
              reduction in sentence pursuant to Rule 35(b), filing 117, is ripe for decision.
              The motion shall not be decided until counsel for the government certifies
              that the motion is at issue;

      2.      Counsel for the defendant, if previously appointed pursuant to the Criminal
              Justice Act, is reappointed to represent the defendant for purposes of the Rule
              35 (b) motion. If retained, counsel for the defendant remains as counsel for
              the defendant until the Rule 35(b) motion is resolved or until given leave to
              withdraw;

      3.      The Federal Public Defender shall provide CJA counsel with a new voucher;

      4.      The clerk of the court shall mail a copy of this order to the Federal Public
              Defender.

      Dated June 15, 2011.
                                    BY THE COURT

                                    s/ Warren K. Urbom
                                    United States Senior District Judge
